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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

DISH NETWORK L.L.C.,                             )
                                                 )
                       Plaintiff,                )
       v.                                        )
                                                 )   C.A. No. ____________________
SERVERLOGY CORPORATION and                       )
DOES 1-5, individually and together              )
d/b/a East IPTV,                                 )
                     Defendants.                 )


                                           COMPLAINT

               Plaintiff DISH Network L.L.C. (“DISH”) brings this suit against Defendants

Serverlogy Corporation (“Serverlogy”) and Does 1-5 individually and together d/b/a East IPTV

(collectively, “East”), and states as follows:

                                        Nature of the Action

               1.      DISH brings this suit for direct, contributory, and vicarious copyright

infringement because East is taking broadcasts of television channels exclusively licensed to

DISH and is unlawfully retransmitting these channels with Serverlogy’s services and computer

servers over the Internet throughout the United States on East’s service (the “East Service”) to

customers who purchase East’s set-top boxes and subscription renewals. East demonstrated the

willfulness of their direct copyright infringement by continuing to transmit the channels

exclusively licensed to DISH despite receiving numerous demands to cease.

               2.      Serverlogy is materially contributing to and is vicariously liable for East’s

direct copyright infringement. Serverlogy received multiple notices of infringement and knows

that its services and computer servers are being used by East to transmit the channels exclusively

licensed to DISH. Serverlogy is ineligible for the Digital Millennium Copyright Act (“DMCA”)

safe harbor because it: (1) failed to appoint an agent for receiving copyright infringement notices;
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(2) failed to respond expeditiously to remove, or disable access to material that is infringing; and

(3) failed to adopt and reasonably implement a policy that provides for the termination of

subscribers who are repeat infringers.

                                              Parties

               3.      Plaintiff DISH Network L.L.C. is a limited liability company organized

under the laws of the State of Colorado, with its principal place of business located at 9601 South

Meridian Blvd., Englewood, Colorado 80112.

               4.      Defendant Serverlogy Corporation is a Delaware corporation with file

number 6938792.

               5.      Defendants Does 1-5 are individuals or entities doing business as East

IPTV who transmit television channels to users of the East Service and sell and promote the East

Service, including through their http://eastiptv.com and https://eastmedia.co websites. Upon

information and belief, East resides in Russia as shown by historical Whois records for the

eastiptv.com domain. DISH believes that discovery will identify Does 1-5 and enable DISH to

amend the complaint to list them by name.

                                     Jurisdiction and Venue

               6.      DISH asserts claims under the Copyright Act, 17 U.S.C. § 101 et seq. This

Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338.

               7.      Personal jurisdiction over Serverlogy is proper in this Court because

Serverlogy purposefully directed its conduct towards and purposefully availed itself of the

privileges of conducting business activities within Delaware. Serverlogy is incorporated in the

State of Delaware, and therefore Serverlogy is subject to this Court’s personal jurisdiction.




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                8.      Personal jurisdiction is proper against East under Rule 4(k)(2) of the

Federal Rules of Civil Procedure. East sells the East Service and transmits channels exclusively

licensed to DISH to users of the East Service throughout the United States (“Service Users”) in

violation of the Copyright Act. This Court’s exercise of jurisdiction over East is consistent with

the Constitution and laws of the United States, DISH’s claims arise under federal law, and East is

not subject to the jurisdiction of the courts of general jurisdiction of any state.

                9.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) because

Serverlogy resides in this judicial district, under § 1391(b)(2) because a substantial part of the

events causing DISH’s claims occurred in this district, and under § 1391(b)(3) because

Defendants are subject to personal jurisdiction in this district. Venue is also proper in this Court

under 28 U.S.C. § 1400(a) because the case involves violations of the Copyright Act.

                                         DISH’s Copyrights

                10.     DISH is the fourth largest pay-television provider in the United States

providing copyrighted programming to millions of subscribers nationwide with satellite delivery

under the “DISH” brand and through over-the-top (“OTT”) services under the “Sling TV” brand

whereby programming is delivered using a public Internet infrastructure. Through its satellite and

Sling TV services, DISH is one of the largest providers of international television channels in the

United States offering more than 400 channels in 27 different languages.

                11.     DISH contracts for and licenses rights for the international channels

distributed on its platform from channel owners and their agents, including Al Jazeera Media

Network; MBC FZ LLC; International Media Distribution (Luxembourg) S.A.R.L.; World Span

Media Consulting, Inc., and Dream Media (collectively, the “Networks”).




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               12.    The Networks’ Arabic-language channels include Al Arabiya; Al Hayah 1;

Al Jazeera Arabic News; Al Jazeera Mubasher; ART Cima; CBC; CBC Drama; Dream 2; Future

TV; Hekayat; LBC; LDC; MBC1; MBC Drama; MBC Kids (a/k/a MBC3); MBC Masr; and

Melody Classic (collectively, the “Protected Channels”). The Networks acquire copyrights in the

works that air on their respective channels, including by producing the works and by assignment.

               13.    DISH entered into signed, written licensing agreements with the Networks

granting DISH the exclusive right to distribute and publicly perform the Protected Channels and

works that air on the Protected Channels in the United States by means including satellite, OTT,

Internet protocol television (“IPTV”), and Internet. DISH’s exclusive rights were in effect at all

relevant times and are currently in effect. Twenty-one or more works that aired on the Protected

Channels and for which DISH holds exclusive distribution and public performance rights are

registered or have registrations pending with the United States Copyright Office. (See Exhibit 1.)

A vast number of additional, unregistered copyrighted works in which DISH holds exclusive

distribution and public performance rights also aired on the Protected Channels. (See Exhibit 2.)

               14.    Defendants are not authorized by DISH to transmit, distribute, or publicly

perform the Protected Channels or works that air on those channels in the United States, and

DISH has received no compensation from Defendants to do so.

                                   East’s Wrongful Conduct

               15.    East distributes, sells, and promotes the East Service to Service Users.

               16.    East promotes the East Service on their website http://eastiptv.com

(“EastIPTV.com”), instructing consumers to “BUY NOW & GET ALL CHANNELS FOR

ONLY $199.99 NO CONTRACT REQUIRED” and includes marks of Protected Channels.




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             17.    East also promotes the East Service on EastIPTV.com claiming they

“OFFER THE BEST AND FASTEST IP TV BOX!” allowing users to “Experience the entire

spectrum of Arabic IPTV channels programming as its happening with up-to-date news, popular

shows, sports,” including “Premium Broadcasting,” and channels that are “Maintained and

Updated.”




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              18.     East has to maintain and update the Protected Channels because DISH and

Networks send notices of infringement to content delivery networks (“CDNs”) associated with

the East Service requesting that they remove the Protected Channels.         At least two CDNs

removed the Protected Channels in March and June 2018, based on East’s copyright infringement.

However, East intentionally interfered with the takedown efforts by transmitting the Protected

Channels from different CDNs and locations.

              19.     East uses their East Service to transmit the Protected Channels over the

Internet to Service Users soon after the original authorized transmission. East captures live

broadcast signals of the Protected Channels, transcodes these signals into a format useful for

streaming over the Internet, transfers the transcoded content to one or more servers provided,

controlled, and maintained by East, and then transmits the Protected Channels to Service Users

through OTT delivery.

              20.     East communicates with Service Users through posts on their Facebook

page located at https://www.facebook.com/profile.php?id=100011374886935.            For example,

East’s Facebook posts indicate they “prepared” and “added” the MBC Iraq channel to the East

Service in response to a request from a Service User living in Boston, Massachusetts.




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               21.    Any member of the public with Internet access, including Service Users,

can receive the Protected Channels from East by simply purchasing an East set-top box; powering

on the device; and selecting the Protected Channels.

               22.    EastIPTV.com includes a “BUY NOW” link that directs consumers to a

shopping cart at East’s http://eastmedia.co (“Eastmedia.co”) website, where East sells their set-

top box for $199.99, with a one year subscription for accessing the channels. Service Users who

want to continue to receive the channels after the initial subscription period must purchase a one

year subscription renewal from East for $99.

               23.    East has actual knowledge that the transmission of the Protected Channels

on the East Service infringes DISH’s copyrights. DISH and Networks sent at least thirty-four

(34) notices of infringement between January 18, 2017 and the filing of this Complaint,

demanding that East cease transmitting the Protected Channels identified in the notices, or

otherwise cease distributing, selling, and promoting the East Service in the United States.



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                                  Serverlogy’s Wrongful Conduct

                24.     Serverlogy is a CDN that uses its website http://serverlogy.com

(“Serverlogy.com”) to market and sell hosting solutions, including dedicated and shared cloud

hosting and “managed server hosting to make sure [its subscriber’s] servers are never down!”

                25.     Through the provision of these services, Serverlogy has knowingly

contributed to, and reaped profits from, copyright infringement committed by East, causing great

harm to DISH. Serverlogy’s contribution to East’s infringement is both willful and extensive, and

renders Serverlogy equally liable.

                26.     Since September 11, 2018, Serverlogy has deliberately refused to take

reasonable measures to stop East from using its services and servers to infringe on DISH’s

copyrights —even after Serverlogy became aware of East’s specific and repeated acts of

infringement. DISH and Networks sent eight notices of infringement to Serverlogy advising

Serverlogy of East’s blatant and systematic use of Serverlogy’s services and servers to transmit,

distribute, and publicly perform the Protected Channels to Service Users. Rather than work with

DISH to curb this infringement, Serverlogy willfully blinded itself to East’s repeat infringement,

failing to terminate them or take any action to remove or disable the infringing content.

                27.     Rather than stop East’s unlawful activity, Serverlogy prioritized its own

profits over its legal obligations.

                28.     Congress created a safe harbor in the DMCA that limits the liability of

service providers for copyright infringement when their involvement is limited to, among other

things, “transmitting, routing, or providing connections for, material through a system or network

controlled or operated by or for the service provider.” 17 U.S.C. § 512(a). To benefit from the

DMCA safe harbor, along with meeting other preconditions, a service provider must: (1) have



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“designated an agent to receive notifications of claimed infringement . . . by making available

through its service, including on its website in a location accessible to the public, and by

providing to the Copyright Office . . . the name, address, phone number, and electronic mail

address of the agent”; (2) “upon notification of a claimed infringement . . . responds expeditiously

to remove, or disable access to, the material that is claimed to be infringing”; and (3) demonstrate

that it “has adopted and reasonably implemented . . . a policy that provides for the termination in

appropriate circumstances of subscribers . . . who are repeat infringers.”           17 U.S.C. §§

512(c)(1)(C); (c)(2); (i)(1)(A). Serverlogy is ineligible for the DMCA safe harbor for failure to

comply with each of these requirements.

                29.   Serverlogy has not designated an agent to receive notifications of claimed

infringement by either making contact information for the agent available on Serverlogy.com or

by providing the contact information for the agent to the Copyright Office.

                30.   The same Serverlogy servers and URLs have been used by East for

infringement since September 11, 2018, despite eight notices of infringement identifying the IP

addresses of the servers and the URLs of the Protected Channels, establishing that Serverlogy: (1)

failed to respond expeditiously to remove, or disable access to material that is infringing; and (2)

failed to adopt and reasonably implement a policy that provides for the termination of subscribers

who are repeat infringers.

                31.   Serverlogy has the right and ability to stop or limit the copyright

infringement because it can remove or block access to the Protected Channels or terminate East’s

accounts. Rather than exercise that right and ability, Serverlogy turned a blind eye to East’s

infringement and has operated its service as an attractive tool, and as a safe haven, for East’s

infringement.



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               32.     Serverlogy has derived an obvious and direct financial benefit from East’s

infringement. Serverlogy’s service and servers have been used to distribute or publicly perform

thousands of copyrighted works that aired on the Protected Channels to an unknown number of

Service Users, serving as a draw for Serverlogy to attract, retain, and charge higher fees to

subscribers. By failing to terminate the account of East, Serverlogy obtained a direct financial

benefit from East’s infringing activity in the form of illicit revenue that it would not have received

had it terminated East’s account. Serverlogy decided not to terminate East’s account or remove or

disable the Protected Channels because it wanted to maintain the revenue that would come from

the account.

               33.     The infringing activity of East that is the subject of DISH’s secondary

infringement claims against Serverlogy occurred after Serverlogy received notice of East’s

infringement. Specifically, DISH seeks relief against Serverlogy for claims of infringement that

accrued from September 11, 2018 and is ongoing.

                                     CLAIMS FOR RELIEF

                                              Count I

                     Direct Copyright Infringement Under 17 U.S.C. § 501

                                            Against East

               34.     DISH repeats and realleges the allegations in paragraphs 1-23.

               35.     DISH is a copyright owner under 17 U.S.C. § 106 because DISH holds the

exclusive rights to distribute and publicly perform in the United States, by means including

satellite, OTT, IPTV, and Internet, the programs that make up the Protected Channels.

               36.     The programs that make up the Protected Channels are original audiovisual

works fixed in a tangible medium of expression, and are therefore copyrightable subject matter.



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DISH’s copyrights in programs that aired on the Protected Channels arise under laws of nations

other than the United States that are parties to copyright treaties with the United States, including

the United Arab Emirates, Qatar, Egypt, and Lebanon, where the programs were authored and

first published. Under 17 U.S.C. §§ 101, 411, the programs that make up the Protected Channels

are non-United States works and, therefore, registration with the United States Copyright Office is

not a prerequisite to filing a copyright infringement action with respect to these works.

                37.    East directly infringes DISH’s copyrights in violation of 17 U.S.C. § 501

by distributing and publicly performing programs that make up the Protected Channels to Service

Users, including the works identified in Exhibits 1-2. The copyrighted programs were transmitted

from computer servers controlled by East to Service Users who accessed the programs using the

East Service.

                38.    DISH has not authorized East to distribute or publicly perform the

programs that make up the Protected Channels in any manner.

                39.    The infringement of DISH’s rights in each program constitutes a separate

and distinct act of copyright infringement.

                40.    East’s actions are willful, malicious, intentional, purposeful, and in

disregard of and with indifference to the rights of DISH.

                41.    Unless enjoined by the Court, East will continue to engage in acts causing

substantial and irreparable injury to DISH that includes damage to its reputation, loss of goodwill,

and lost sales, for which there is no adequate remedy at law.




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                                            Count II

         Materially Contributing to Copyright Infringement Under 17 U.S.C. § 501

                                      Against Serverlogy

               42.    DISH repeats and realleges the allegations in paragraphs 1-33 and 35-38.

               43.    DISH’s exclusive rights to distribute and publicly perform the Protected

Channels and programs that make up the Protected Channels are directly infringed by East’s

unauthorized transmission of these programs to Service Users who access the programs using the

East Service. East uses services and computer servers provided by Serverlogy to distribute and

publicly perform the Protected Channels and programs that make up the Protected Channels.

               44.    Serverlogy materially contributes to East’s direct infringement of DISH’s

exclusive distribution and public performance rights. Through infringement notices, Serverlogy

had actual knowledge that the transmission of the Protected Channels and the programs that make

up the Protected Channels to Service Users infringes DISH’s exclusive distribution and public

performance rights, and that Serverlogy’s services and servers were being used for such copyright

infringement on a massive scale. Serverlogy also had actual knowledge that its subscriber, East,

engaged in such repeated and willful copyright infringement. Serverlogy facilitated, encouraged,

and materially contributed to East’s infringement by continuing to provide its services, servers,

and the facilities necessary for East to commit repeated infringement.

               45.    Serverlogy had the means to withhold its assistance to East upon learning

of the URLs and IP addresses of the servers providing access to the Protected Channels, including

removing or disabling the Protected Channels or terminating East’s account, but Serverlogy failed

to do so. Serverlogy could have taken these simple measures to prevent further infringement of




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DISH’s exclusive rights to distribute and publicly perform the programs that make up the

Protected Channels.

               46.      By purposely ignoring and turning a blind eye to East’s willful and

repeated infringement, Serverlogy knowingly caused and materially contributed to the

unauthorized distribution and public performance of the Protected Channels and programs that

make up the Protected Channels, in violation of DISH’s exclusive rights under the copyright laws

of the United States.

               47.      Serverlogy’s actions are willful, malicious, intentional, purposeful, and in

disregard of and with indifference to the rights of DISH.

               48.      Unless enjoined by the Court, Serverlogy will continue to engage in acts

causing substantial and irreparable injury to DISH that includes damage to its reputation, loss of

goodwill, and lost sales, for which there is no adequate remedy at law.

                                             Count III

                     Vicarious Copyright Infringement Under 17 U.S.C. § 501

                                        Against Serverlogy

               49.      DISH repeats and realleges the allegations in paragraphs 1-33 and 35-38.

               50.      DISH’s exclusive rights to distribute and publicly perform the Protected

Channels and programs that make up the Protected Channels are directly infringed by East’s

unauthorized transmission of these programs to Service Users who access the programs using the

East Service. East uses services and computer servers provided by Serverlogy to distribute and

publicly perform the Protected Channels and programs that make up the Protected Channels.

               51.      Serverlogy is liable as a vicarious copyright infringer for East’s direct

infringement of DISH’s exclusive distribution and public performance rights.



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               52.     Serverlogy has the legal right and the actual ability to supervise and control

the infringing activities of East that occur through the use of Serverlogy’s service and servers.

Serverlogy failed to take any action to stop the infringement of DISH’s exclusive rights in the

programs that make up the Protected Channels.

               53.     At all relevant times, Serverlogy had a financial interest in, and derived

direct financial benefit from, East’s infringing use of Serverlogy’s service and servers.

Serverlogy’s service and servers have been used to distribute or publicly perform thousands of

copyrighted works that aired on the Protected Channels to an unknown number of Service Users,

serving as a draw for Serverlogy to attract, retain, and charge higher fees to subscribers. By

failing to terminate the account of East and remove or disable the Protected Channels, Serverlogy

profited from illicit revenue that it would not have received.

               54.     Serverlogy’s actions are willful, malicious, intentional, purposeful, and in

disregard of and with indifference to the rights of DISH.

               55.     Unless enjoined by the Court, Serverlogy will continue to engage in acts

causing substantial and irreparable injury to DISH that includes damage to its reputation, loss of

goodwill, and lost sales, for which there is no adequate remedy at law.

                                     PRAYER FOR RELIEF

               WHEREFORE, DISH prays for judgment against Defendants as follows:

               A.      For a grant of permanent injunctive relief under 17 U.S.C. § 502 restraining

and enjoining Defendants, and any of their agents, servants, employees, attorneys, or other

persons acting in active concert or participation with any of the foregoing that receives actual

notice of the order (including, without limitation, distributors and retailers of the East Service),

from:



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                      1.     transmitting, streaming, distributing, or publicly performing in the

United States, with any East set-top box, subscription renewal, or any other device, application,

service, or process, any of the Protected Channels or any of the programming that comprises any

of the Protected Channels;

                      2.     distributing, selling, providing, or promoting any product or

service in the United States, including any East set-top box or subscription renewal, that

comprises the whole or part of a network or service for the distribution or public performance of

any of the Protected Channels or any of the programming that comprises any of the Protected

Channels;

                      3.     advertising, displaying, or marketing any East set-top box,

subscription renewal, or service in connection with the Protected Channels or the programming

that comprises the Protected Channels; and

                      4.     inducing or contributing to another’s conduct that falls within 1, 2,

or 3 above.

              B.      For the twenty-one or more registered works, statutory damages as awarded

by the Court up to $150,000 per registered work infringed under 17 U.S.C. § 504(c), or the

Defendants’ profits attributable to the infringement of those registered works under 17 U.S.C. §

504(b).

              C.      For unregistered works, an award of Defendants’ profits attributable to the

infringement of each unregistered work under 17 U.S.C. § 504(b).

              D.      For DISH’s attorneys’ fees and costs under 17 U.S.C. § 505.

              E.      For impoundment and disposition of all infringing articles under 17 U.S.C.

§ 503.



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               F.    For pre- and post-judgment interest on all monetary relief, from the earliest

date permitted by law at the maximum rate permitted by law.

               G.    For such additional relief as the Court deems just and equitable.

                                                MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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